     Case 1:22-cr-02009-SAB            ECF No. 18        filed 01/14/22      PageID.23 Page 1 of 2




      United States District Court, Eastern District of Washington
                               Magistrate Judge James P. Hutton
                                            Yakima

 USA v. JUAN CARLOS HERNANDEZ                                  Case No. 1:22-CR-2009-SAB-1

                                         Video Conference
                         The Defendant agreed to appear via video conference.

 Arraignment/Initial Appearance on Indictment:                                                 01/14/2022

 ☒ Pam Howard, Courtroom Deputy [Y]                      ☒ Richard Barker, US Atty (video)
                                                         ☒ Tim Nguyen, Defense Atty (video)
 ☒ Erica Helms, US Probation / Pretrial                  ☒ Interpreter NOT REQUIRED
   Services Officer (tele)
 ☒ Defendant present ☒ in custody USM                    ☐ Defendant not present / failed to appear
   appeared by video from Yakima County Jail
                       ☐out of custody

 ☒     USA Motion for Detention                          ☒    Rights given
 ☐     USA not seeking detention                         ☒    Acknowledgment of Rights filed
 ☒     Financial Affidavit (CJA 23) filed                ☐    Defendant received copy of charging document
 ☐     The Court will appoint the Federal Defenders      ☐    Defendant waived reading of charging document
 ☒     Based upon conflict with Federal Defenders, the   ☒    Charging document read in open court
       Court will appoint CJA Panel Attorney, Tim
       Nguyen
 ☐     PRE-Trial Services Report ordered                 ☒    POST Pre-Trial Services Report ordered

 ☐     AO Advice of Penalties/Sanctions filed


                                                REMARKS
         Due to current COVID-19 public health crisis, all parties including Defendant, appeared by video
or teleconference.
         Defendant was assisted by counsel and advised of their rights and the allegations contained in the
charging document.
         The Defendant acknowledged to the Court that their true and correct name is: JUAN CARLOS
HERNANDEZ.
         “Not guilty” plea entered.
         Discovery to be provided pursuant to the local rule on discovery.

The Court ordered:
        1. Defendant shall be detained by the U. S. Marshal until further order of the Court.
        2. As required by Rule 5(f), the United States is ordered to produce all information required by
           Brady v. Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
           including exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt
           proceedings. Order forthcoming.

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                                     Detention Hearing:
                                    Waived by Defendant;
                          USA’s Motion for Detention is granted.
         Subject to right to return before the Court should circumstances change.




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